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8
                       UNITED STATES DISTRICT COURT
9
                      CENTRAL DISTRICT OF CALIFORNIA
10
                                                  )     Case No.
11
       TERRI ALVES, individually, and             )
12    on behalf of all others similarly           )
13
      situated,                                   )       2:21-cv-00005
      Plaintiff,                                  )
14    v.                                          )     NOTICE OF VOLUNTARY
15    AMERICAN FUNDING                            )     DISMISSAL OF ACTION WITH
      SERVICES, INC., and DOES 1                  )     PREJUDICE AS TO PLAINTIFF
16
      through 10, inclusive,                      )     AND WITHOUT PREJUDICE AS
17    Defendant.                                  )     TO THE PUTATIVE CLASS.
18
                                                  )
                                                  )
19

20   NOW COMES THE PLAINTIFFs by and through their attorneys to respectfully
21   move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22   and without prejudice as to the class. No Defendant has filed either an answer or
23   a motion for summary judgment at this time, and no Court order is necessary
24   pursuant         to         the               Fed.            R.     Civ.      P.
25   Respectfully submitted this 9th Day of April, 2021,
26
                                             By: s/Adrian R. Bacon Esq.
27
                                                  Adrian R. Bacon
28                                              Attorney for Plaintiff



                                       Notice of Dismissal - 1
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1                             CERTIFICATE OF SERVICE
2
     Filed electronically on April 9, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on April 9, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9                                            By: s/Adrian R. Bacon Esq.
                                                  Adrian R. Bacon
10
                                                  Attorney for Plaintiff
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                                       Notice of Dismissal - 2
